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LAW OFFICES OF PERRY de MARCO, SR.
BY: PERRY de MARCO, Sr., ESQUIRE
IDENTIFICATION NO: 22640
317 South 13th Street,
Philadelphia, PA 19107
(215) 563 - 8000




                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA                     :
                                                 :
                     vs.                         :   CRIMINAL NO. 21-cr-00232(CRC)
                                                 :
             Richard Michetti                    :
                                                 :

                                           ORDER

AND NOW, to wit this       day of    , 2022, upon consideration of the Defendant’s Unopposed

Motion for Partial Release from Conditions of House Arrest, it is hereby ORDERED,

ADJUDGED, AND DECREED that the Defendant’s Motion for Partial Release from Conditions

of House Arrest is GRANTED.

                                                 BY THE COURT:


                                                 ___________________________________
                                                 Honorable Christopher R. Cooper
                                                 United States District Court Judge
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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLUMBIA



     UNITED STATES OF AMERICA                          :
                                                       :
                         vs.                           :   CRIMINAL NO. 21- cr-00232(CRC)
                                                       :
                 Richard Michetti                      :
                                                       :


      MOTION FOR PARTIAL RELEASE FROM HOUSE ARREST CONDITIONS

TO THE HONORABLE, THE JUDGE OF SAID COURT:

           Defendant, Richard Michetti., by and through his counsel, Perry de Marco Sr.,

ESQUIRE hereby respectfully requests this Honorable Court to order a partial release from his

conditions of House Arrest and in support thereof states the following:

       1. That on or about January 6, 2021, the Government filed a three-count Indictment

              against Richard Michetti which charged him with violating:

              18 U.S.C. §§ 1512 (c)( 2) ,2 (Obstruction of an Official Proceeding - 1 count)

              18 U.S.C. § 1752(a) (1) (Entering and Remaining in a Restricted Building or Grounds

- 2 counts)

         18 U.S.C § 1752 (a) (2) (Disorderly and Disruptive Conduct in a Restricted Building or

Grounds)
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   40 U.S.C § 5104 (e) (2) (D) (Disorderly Conduct in a Capital Building

   40 U.S.C § 5104 (e) (2) (G) (Parading, Demonstrating or Picketing in a Capital Building

   2. That defendant is currently subject house arrest conditions

   3. That the defendant's Pre-Trial Services officer is Masharia Holman (202) - 442-1009

   4. That defendant is requesting permission to visit with his mother (Ruth Richetti), step

       father (Tony Rodrigues) and with his daughter (Gianna) at Sun Retreats Sea Isle 1955

       US-9 Clermont, New Jersey 08210 on the following dates: 07/22 - 07/24, 07/29 -

       07/31, 08/05 - 08/07, 08/12 - 08/14, 08/19 - 08/21, 08/26 - 08/28, 09/02 - 09/05 .

   5. That the defendant assures the court that during the entire time of the requested

       visitation the defendant’s mother will be present with the defendant and with his

       daughter Gianna

   6. That the defendant also requests that the Court grant him permission to take his

       daughter, in the company of his mother, to other activities such as going out for ice

       cream, movies, boardwalk, amusements, meals and beach.

   7. The defendant understands that he cannot get his ankle monitor wet.

   8. That Counsel for the defendant has spoken to both PreTrial services officer Marsharia

       Holman and with Assistant United States Attorney Mona Furst Esquire, and neither

       have an objection to this request.

   WHEREFORE, the Defendant, respectfully requests that this Honorable Court grant the

Petitioner partial release from his House Arrest conditions as set forth herein.

                                                      RESPECTFULLY SUBMITTED:

                                                       PD8119
                                                       PERRY de MARCO SR., ESQUIRE
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                           CERTIFICATE OF SERVICE

       I, Perry de Marco Sr., ESQUIRE, HEREBY CERTIFY THAT I HAVE FORWARDED BY

ELECTRONIC FILING, A TRUE AND CORRECT COPY OF THE FOREGOING MOTION

FOR PARTIAL RELEASE FROM HOUSE ARREST CONDITIONS TO THE FOLLOWING

PERSONS:




HONORABLE CHRISTOPHER R. COOPER           Mona Lee M. Furst
                                          Assistant United States Attorney
Richard Michetti                          1200 Epic Center
                                           301 N Main
                                          Wichita, Kansas 67202




                                          Via Email: mona.furst@usdoj.gov




                                          PD8119
                                          Perry de Marco Sr. , ESQUIRE


                                          DATED: July 20, 2022
